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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8 FEDERAL TRADE COMMISSION,                                No. 2:23-cv-0932-JHC
 9                             Plaintiff,                   STIPULATION AND ORDER TO
                                                            AMEND SCHEDULING ORDER
10          v.
11 AMAZON.COM, INC., et al.,

12                             Defendants.
13

14                                           STIPULATED MOTION

15          The parties, by and through their attorneys of record, respectfully request that the Court

16 enter the proposed Order set forth below, amending the case schedule.

17          In support of this request, the parties represent the following to the Court:

18          1.     On June 27, 2024, the Court entered a minute order setting the trial date and

19 related dates on June 14, 2024. Dkt. 175.

20          2.     Since that time, the parties have actively and diligently engaged in extensive

21 discovery. These discovery efforts have taken longer than the parties originally anticipated.

22          3.     To allow sufficient time for expert analysis and related discovery, the parties

23 agree that adjustments to the case schedule are warranted as set forth below.

24          4.     To accommodate these adjustments, the parties also agree that an extension of the

25 trial date by approximately two months to a date convenient for the Court, and a corresponding

26 adjustment to the related pre-trial deadlines, are warranted.

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 1           5.   Accordingly, the parties stipulate and jointly request that the Court enter an Order

 2 amending the case schedule as follows:

 3
     Event                               Existing Deadline         Joint
 4                                       (Dkt. 175)                Proposed Deadline
 5   Deadline for Amended Pleadings      November 12, 2024         November 12, 2024
     Motions Relating to Fact            December 11, 2024         December 11, 2024
 6   Discovery
     Fact Discovery Deadline             January 10, 2025          January 10, 2025
 7
     Opening Expert Reports (all         November 12, 2024         January 24, 2025
 8   parties)
     Rebuttal Expert Reports (all        December 12, 2024         March 7, 2025
 9   parties)                            (calculated under
                                         FRCP 26)
10   Motions Relating to Expert          December 11, 2024         March 7, 2025
11   Discovery
     Expert Discovery Deadline           January 10, 2025          April 4, 2025
12   Dispositive and Daubert Motions     February 10, 2025         May 2, 2025
     Responses to Dispositive            March 3, 2025             May 23, 2025
13   and Daubert Motions                 (calculated under LCR
14                                       7)
     Replies In Support of Dispositive   March 10, 2025            June 6, 2025
15   and Daubert Motions                 (calculated under LCR
                                         7)
16   Settlement Conference               April 10, 2025            June 13, 2025
17   Plaintiff’s Pretrial Statement &                              June 30, 2025
     Deposition Designations Served
18   But Not Filed (per LCR 16(h) and
     LCR 32(e))
19   Motions in Limine                   April 28, 2025            July 8, 2025
20   Defendants’ Pretrial Statement &                              July 9, 2025
     Deposition Designations Served
21   But Not Filed (per LCR 16(i) and
     LCR 32(e))
22   Agreed Pretrial Order               May 19, 2025              July 29, 2025
     All Parties’ Deposition             May 21, 2025              July 31, 2025
23
     Designations filed with Court
24   Pretrial Conference (1:30 pm)       May 27, 2025              August 5, 2025
     Trial Briefs, Proposed Voir Dire,   June 2, 2025              August 11, 2025
25   Jury Instructions
     Trial Date                          June 9, 2025              August 18, 2025
26

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 1         6.      Based on the foregoing, the parties respectfully request that the Court grant their

 2 motion through entry of the Proposed Order below.

 3

 4 Stipulated to and respectfully submitted this 5th day of November, 2024, by:

 5
                                                      DAVIS WRIGHT TREMAINE LLP
 6                                                    Attorneys for Defendants
 7                                                    By s/ Kenneth E. Payson
                                                         Kenneth E. Payson, WSBA #26369
 8                                                       James Howard, WSBA #37259
                                                         920 Fifth Avenue, Suite 3300
 9                                                       Seattle, WA 98104-1610
                                                         Telephone: (206) 622-3150
10                                                       Fax: (206) 757-7700
                                                         E-mail: kenpayson@dwt.com
11                                                                jimhoward@dwt.com
12
                                                      COVINGTON & BURLING LLP
13
                                                          Stephen P. Anthony*
14                                                        Laura Flahive Wu*
                                                          Laura M. Kim*
15                                                        John D. Graubert*
                                                          850 Tenth Street, NW
16                                                        Washington, DC 20001
                                                          Telephone: (206) 662-5105
17                                                        E-mail: santhony@cov.com
                                                                  lflahivewu@cov.com
18                                                                lkim@cov.com
                                                                  jgraubert@cov.com
19
                                                          John E. Hall*
20                                                        415 Mission Street, Suite 5400
                                                          San Francisco, CA 94105
21                                                        Telephone: (415) 591-6855
                                                          E-mail: jhall@cov.com
22
                                                          Megan L. Rodgers*
23                                                        3000 El Camino Real
                                                          Palo Alto, CA 94306
24                                                        Telephone: (650) 632-4734
                                                          E-mail: mrodgers@cov.com
25

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                                              Anders Linderot*
 1                                            620 Eighth Avenue
                                              New York, NY 10018
 2                                            Telephone: (212) 841-1000
                                              Email: alinderot@cov.com
 3

 4                                         HUESTON HENNIGAN LLP
 5                                             John C. Hueston*
                                               Moez M. Kaba*
 6                                             Joseph A. Reiter*
                                               523 West 6th Street, Suite 400
 7                                             Los Angeles, CA 90014
                                               Telephone: (213) 788-4340
 8                                             E-mail: jhueston@hueston.com
                                                       mkaba@hueston.com
 9                                                     jreiter@hueston.com
10                                             *Admitted pro hac vice
11

12                                         Approved and agreed to by:
13                                         FEDERAL TRADE COMMISSION
                                           Attorneys for Plaintiff
14
                                           By s/ Evan Mendelson
15                                            Evan Mendelson, D.C. Bar #996765
                                              Olivia Jerjian, D.C. Bar #1034299
16                                            Thomas Maxwell Nardini, IL Bar
                                              #6330190
17                                            Sana Chaudhry (NY Bar #5284807)
                                              Anthony Saunders (NJ Bar #008032001)
18                                            600 Pennsylvania Avenue NW
                                              Washington, DC 20580
19                                            (202) 326-3320; emendelson@ftc.gov
                                              (202) 326-2749; ojerjian@ftc.gov
20
                                              (202) 326-2812; tnardini@ftc.gov
21                                            (202) 326-2679; schaudhry@ftc.gov
                                              (202) 326-2917; asaunders@ftc.gov
22
                                              Colin D. A. McDonald, WSBA # 55243
23                                            Federal Trade Commission
                                              915 Second Ave., Suite 2896
24                                            Seattle, WA 98174
                                              (206) 220-4474; cmacdonald@ftc.gov
25

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                                                      ORDER
 1
            Given the Court’s trial calendar—and to provide more time than proposed by the parties
 2

 3 between the briefing schedule on dispositive and Daubert motions and the trial date—the Court

 4 sets September 22, 2025, as the trial date in this matter and DIRECTS the Clerk to issue a new

 5 case scheduling order that follows the Court’s standard pretrial schedule. After issuance of that

 6 order, the parties may propose amendments thereto, except the parties may not propose reducing

 7
     time for the Court to rule on dispositive or Daubert motions before trial.
 8
 9          DATED this 5th day of November, 2024.
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                                                      JOHN H. CHUN
12                                                    UNITED STATES DISTRICT JUDGE
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